     Case 2:24-cv-07453-CV-AJR                      Document 63-1          Filed 06/17/25         Page 1 of 1 Page ID
                                                           #:875
                    STANDARD SCHEDULE OF PRETRIAL AND TRIAL DATES WORKSHEET
                 Please complete this worksheet jointly and file it with your Joint Rule 26(f) Report.
                  The parties must make every effort to agree on dates or the Court will set them.

Case No. 24-cv-07453-CV-AJR             Case Name:       PCR Distributing Co. v. John Does 1-10

                                                                                                      Pl(s)’ Date       Def(s)’ Date
                              Trial and Final Pretrial Conference Dates
                                                                                                     mm/dd/yyyy         mm/dd/yyyy

Check one: x Jury Trial or ☐ Bench Trial
[Tuesday at 9:00 a.m. within 13–16 months of Scheduling Conference]                                   09/08/2026
Estimated Duration: _______ Days
                                                                                                       08/14/2026
Final Pretrial Conference (“FPTC”) [L.R. 16], Hearing on Motions in Limine
[Friday at 1:30 p.m. at least 17 days before trial]

                               Event
                                                                                                      Pl(s)’ Date       Def(s)’ Date
            Note: Hearings shall be on Fridays at 1:30 p.m.                  Time Computation
                                                                                                     mm/dd/yyyy         mm/dd/yyyy
               Other dates can be any day of the week.
                                                                          91 days after scheduling
Last Date to Hear Motion to Amend Pleadings or Add Parties [Friday]
                                                                                conference
Fact Discovery Cut-Off [Friday]
                                                                           21 weeks before FPTC        03/20/2026
(no later than deadline for filing dispositive motion)
                                                                                                           03/27/2026
Expert Disclosure (Initial)                                                20 weeks before FPTC
Expert Disclosure (Rebuttal)                                               18 weeks before FPTC        04/10/2026
Expert Discovery Cut-Off                                                   16 weeks before FPTC       04/24/2026

Last Date to Hear Motions [Friday]
  Joint Brief due at least 28 days before hearing
                                                                                                      06/12/2026
                                                                            9 weeks before FPTC
  Supplemental Memoranda (if any) due 14 days before hearing


Deadline to Complete Settlement Conference [L.R. 16-15]                                                07/10/2026
 Select one: ☐ 1. Magistrate Judge (with Court approval)                    5 weeks before FPTC
             ☐ 2. Court Mediation Panel
             ☐ 3. Private Mediation

Trial Filings (first round) [Friday]
  Motions in Limine
  Memoranda of Contentions of Fact and Law [L.R. 16-4]                                                07/17/2026
  Witness Lists [L.R. 16-5]
  Joint Exhibit List [L.R. 16-6.1]
                                                                            4 weeks before FPTC
  Joint Status Report Regarding Settlement
  Proposed Findings of Fact and Conclusions of Law [L.R. 52]
    (bench trial only)
  Declarations Containing Direct Testimony, if ordered
    (bench trial only)

Trial Filings (second round) [Friday]
  Oppositions to Motions in Limine
  Joint Proposed Final Pretrial Conference Order [L.R. 16-7]
                                                                                                         07/31/2026
  Joint Agreed Upon Proposed Jury Instructions (jury trial only)
  Disputed Proposed Jury Instructions (jury trial only)
                                                                            2 weeks before FPTC
  Joint Proposed Verdict Forms (jury trial only)
  Joint Proposed Statement of the Case (jury trial only)
  Proposed Voir Dire Questions, if any (jury trial only)
  Evidentiary Objections to Declarations of Direct Testimony
    (bench trial only)




 Rev. 3/31/25
